                                                                               Case 3:07-cv-05944-JST Document 374 Filed 09/03/08 Page 1 of 4



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                                                                                                    UNITED STATES DISTRICT COURT
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                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   In Re: Cathode Ray Tube (CRT)      )         MDL No.    1917
                                                                              Antitrust Litigation               )
                               For the Northern District of California




                                                                         11                                      )         Case No. 07-5944 SC
United States District Court




                                                                              ___________________________________)
                                                                         12                                      )         ORDER GRANTING
                                                                              CRAGO, Inc.,                       )         INDIRECT PURCHASER
                                                                         13                                      )         PLAINTIFFS' MOTION TO
                                                                                        Plaintiff,               )         AUTHORIZE SERVICE ON
                                                                         14                                      )         CERTAIN FOREIGN
                                                                                  v.                             )         DEFENDANTS PURSUANT
                                                                         15                                      )         TO FEDERAL RULE OF
                                                                              CHUNGHWA PICTURE TUBES, LTD., et   )         CIVIL PROCEDURE
                                                                         16   al.,                               )         4(F)(3)
                                                                                                                 )
                                                                         17             Defendants.              )
                                                                                                                 )
                                                                         18                                      )
                                                                         19
                                                                         20   I.   INTRODUCTION
                                                                         21        This matter comes before the Court on the Indirect Purchaser
                                                                         22   Plaintiffs' Motion to Authorize Service on Certain Foreign
                                                                         23   Defendants Pursuant to Federal Rule of Civil Procedure 4(f)(3)
                                                                         24   ("Motion").   Docket No. 344.     Defendants Koninklijke Philips
                                                                         25   Electronics N.V. ("Koninklijke") and Toshiba Corporation
                                                                         26   ("Toshiba") Opposed the Motion and Plaintiffs filed a Reply.
                                                                         27   Docket Nos. 354, 357, 363.      The remaining Defendants affected by
                                                                         28   the Motion have agreed to accept service.         See Docket Nos. 353,
                                                                                Case 3:07-cv-05944-JST Document 374 Filed 09/03/08 Page 2 of 4



                                                                          1    356, 360, 361, 372.     The matter was submitted to the Honorable
                                                                          2    Judge Legge, who has been appointed Special Master in this action.
                                                                          3    Judge Legge conducted a hearing and issued a Report and
                                                                          4    Recommendation regarding the Motion.        Docket No. 373.       After
                                                                          5    considering Judge Legge's Report and Recommendation of August 29,
                                                                          6    2008, and after reviewing the parties' papers, this Court GRANTS
                                                                          7    Plaintiffs' Motion.
                                                                          8            The Court merely notes that under Federal Rule of Civil
                                                                          9    Procedure 4(f)(3)1 and the relevant caselaw, service on foreign
                                                                         10    defendants, even those who are signatories to the Hague
                               For the Northern District of California




                                                                         11    Convention, is proper under Rule 4(f)(3) where the foreign
United States District Court




                                                                         12    defendants have domestic subsidiaries and/or counsel and where
                                                                         13    service does not require transmittal abroad.2         See Volkswagenwerk
                                                                         14    Aktiengesellschaft v. Schlunk, 486 U.S. 694, 707 (1988) (holding
                                                                         15    that the "only transmittal [of service] to which the [Hague]
                                                                         16    Convention applies is a transmittal abroad that is required as a
                                                                         17    necessary part of service").
                                                                         18            In the present case, it is undisputed that both Koninklijke
                                                                         19    and Toshiba have domestic subsidiaries and domestic counsel.              The
                                                                         20    Supreme Court has stated that "[w]here service on a domestic agent
                                                                         21    is valid and complete under both state law and the Due Process
                                                                         22    Clause, our inquiry ends and the [Hague] Convention has no further
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                                                                                      Rule 4(f)(3) states that "an individual . . . may be
                                                                         24   served at a place not within any judicial district of the United
                                                                              States: . . . by other means not prohibited by international
                                                                         25   agreements, as the court orders." Fed. R. Civ. P. 4(f)(3).
                                                                         26        2
                                                                                      It is undisputed that both Defendants are foreign
                                                                              corporations located in countries that are signatories to the Hague
                                                                         27   Convention.
                                                                         28                                          2
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                                                                          1    implications."    Volkswagenwerk, 486 U.S. at 707.        This reasoning
                                                                          2    applies with equal force to service on a domestic agent under
                                                                          3    federal law.    See, e.g., In re LDK Solar Sec. Litig., C No. 07-
                                                                          4    5182, 2008 WL 2415186, at *3 (N.D. Cal. June 12, 2008) (stating
                                                                          5    "nothing in the [Hague] Convention bars the requested means of
                                                                          6    service" under Rule 4(f)(3) upon a domestic subsidiary).
                                                                          7    Defendants have provided no explanation for why transmittal abroad
                                                                          8    would be required in the present case, when federal law plainly
                                                                          9    permits service on Defendants' domestic subsidiaries or domestic
                                                                         10    counsel.    See Rio Prop., Inc. v. Rio Int'l Interlink, 284 F.3d
                               For the Northern District of California




                                                                         11    1007, 1016 (9th Cir. 2002) (holding that "[a]pplying th[e] proper
United States District Court




                                                                         12    construction of Rule 4(f)(3) . . ., trial courts have authorized a
                                                                         13    wide variety of alternative methods of service including . . .
                                                                         14    delivery to defendant's attorney").        Defendants' argument that
                                                                         15    service under Rule 4(f)(3) is somehow prohibited by the Hague
                                                                         16    Convention in the present circumstances is, accordingly, without
                                                                         17    support.
                                                                         18            The Hague Convention applies only when transmittal abroad is
                                                                         19    required.    Because Koninklijke and Toshiba have domestic
                                                                         20    subsidiaries and domestic counsel, transmittal abroad for service
                                                                         21    is not required.    The Hague Convention therefore does not prohibit
                                                                         22    service on Defendants under Rule 4(f)(3).3        Plaintiffs' Motion is
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                                                                         24        3
                                                                                      For this reason, Defendants' reliance on a footnote from
                                                                              Rio Properties is misplaced. See Rio Properties, 284 F.3d at 1015
                                                                         25   n.4 (stating that a "federal court would be prohibited from issuing
                                                                              a Rule 4(f)(3) order in contravention of an international
                                                                         26   agreement, including the Hague Convention"). As the Hague
                                                                              Convention, for the reasons stated above, does not apply, this
                                                                         27   footnote is inapposite.
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                                                                          1   GRANTED.
                                                                          2        The hearing on this Motion scheduled for Friday, September 5,
                                                                          3   2008, is hereby VACATED.
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                                                                          6        IT IS SO ORDERED.
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                                                                          8        Dated: September 3, 2008
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                                                                         10                                             UNITED STATES DISTRICT JUDGE
                               For the Northern District of California




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United States District Court




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